   Case 2:10-cr-00186-MHT-WC Document 2349 Filed 02/24/12 Page 1 of 1




  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION

UNITED STATES OF AMERICA           )
                                   )
    v.                             )        CRIMINAL ACTION NO.
                                   )          2:10cr186-MHT
MILTON E. McGREGOR,                )                (WO)
THOMAS E. COKER,                   )
LARRY P. MEANS,                    )
JAMES E. PREUITT,                  )
HARRI ANNE H. SMITH, and           )
JARRELL W. WALKER, JR.             )

                                ORDER

    Jury selection in this case was held on February 6-8,

2012, and the trial commenced on February 9, 2012.                      A

petit juror serving more than ten days on one case may be

paid, at the discretion of the trial judge, an additional

$ 10.00 per day for each day in excess of ten days

pursuant to 28 U.S.C. § 1871(b)(2).

    It is therefore ORDERED that the jurors in the above-

referenced case be paid an attendance fee of $ 50.00 per

day for all days served in excess of ten days.

    DONE, this the 24th day of February, 2012.

                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
